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                                         October 21, 2022

   The Honorable Colm F. Connolly                                VIA ELECTRONIC FILING
   J. Caleb Boggs Federal Building
   844 North King Street
   Unit 31, Room 4124
   Wilmington, DE 19801-3555

           Re:       AMO Development, LLC, et al. v. Alcon Inc. et al.
                     C.A. No. 20-842 (CFC)

  Dear Chief Judge Connolly:
         I write on behalf of Plaintiffs (“J&J”). J&J has filed one motion for summary
  judgment. Defendants (“Alcon”) have filed three summary judgment motions. Last
  Friday, together with its three reply briefs, Alcon filed three responses to Plaintiffs’
  Concise Statements of Facts that J&J had filed with its answering briefs (D.I. 457,
  459, 462). Because the Scheduling Order only provides for Concise Statements of
  Fact with opening and answering briefs, J&J did not file a Concise Statement with
  its reply brief. If the Court would like us to file a Concise Statement in reply, we are
  prepared to do so promptly.

        In addition, pursuant to D. Del. LR 7.1.4, J&J seeks oral argument on the
  pending summary judgment and Daubert motions.

                                               Respectfully,

                                               /s/ Jack B. Blumenfeld
                                               Jack B. Blumenfeld (#1014)
  JBB/lkm
  cc: All Counsel of Record (via electronic mail)
